Name/Address of Attorney or Pro Per

Case 2:23-cv-02963-SB-PVC Document 60 Filed 01/08/24 Page 1of2 Page ID #:559

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UNITED STATES DISTRICT COURT bese whe
CENTRAL DISTRICT OF CALIFORNIA’: Cabs

CENTS GLEN CAISHER CASENUMBER: AS2-3- CV - 02963

PLAINTIFF(S),

Vv.
Motion and Affidavit for Leave to Appeal In Forma

UsS. Bark Nat ond Ass sekhon | Pauperis: 0 28 U.S.C. 753(f

DEFENDANT(S). O 28 U.S.C. 1915

The undersigned Cc ) nebo, 6 arn Croke , aparty in the within action, moves the Court under 28 USC § 1915
for authorization to prosecute an appeal without prepayment of fees and costs or security therefor, and for the preparation of
a Court Reporter's transcript at government expense.

1.

I believe Ys am entitled to redress, and the issues which I desire to present on my proposed appeal are the following:

a. Th a victim of | hentite Thet (Polieetupet t AGgdavit)

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Mottin $5 Compe) Arbitation DocundS 40-3 Gre differed.

Because of my poverty I am unable to pay the costs of the proposed appeal proceeding or to give security therefor. I swear

that the following responses are true.

Are you presently employed? Weyes [CINo. Ifthe answer is yes, state the amount of your salary or wages per
month and give the name and address of your employer. §, 900 re m In Aone Suppe rine
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Have you received, within the past twelve months, any income from a business, profession or other form of self-
employment, or in the form of rent payments, interest, dividends, or other source? L] Yes No.
If the answer is yes, describe each source of income and state the amount received from each during the past twelve

months.

A-18 (04/10) MOTION AND AFFIDAVIT FOR LEAVE APPEAL IN FORMA PAUPERIS Page 1 of 2
Case 2:23-cv-02963-SB-PVC Document 60 Filed 01/08/24 Page 2of2 Page ID #:560

c. Are you presently employed in prison? O1 Yes PANo.

If yes, state the number of hours you work per week and the hourly rate of pay.

d. Do you own any cash or do you have money in a checking or savings account? M] Yes [No.

If the answer is yes, state the amount of money in each account separately as of six (6) months prior to the date of this

affidavit. €, 3/0 - checking

e. Do you own any real estate, stocks, bonds, notes, automobiles, or other valuable property (excluding ordinary

household furnishings and clothing)? _A/V 0

f. In what year did you last file an income tax return? 2o! q

g. Approximately how much income did your last tax return reflect? / 0 f 3 b Z¢

h. List the persons who are dependent upon you for support and state your relationship to those persons.

Jeffry Jamo floss — [Diswhled recigoyt of HES .

pdr bs lice i n Oper gro or Agr
i. State monthly expenses, itemizing the major items. l L 600 Ler pt 5% d Nei caf

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I declare under penalty of perjury that the foregoing is true and correct.

Signature of Party

Onn - © 260 2Y

= Date Signature of Attorney
(Disregard if filed in propria persona)

A-18 (04/10) MOTION AND AFFIDAVIT FOR LEAVE APPEAL IN FORMA PAUPERIS Page 2 of 2
